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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                        CR 16-19-GF–BMM

                      Plaintiff,

        vs.
                                                   ORDER

 NEAL PAUL ROSETTE,

                      Defendant.

      Upon previous determination by this Court that the Defendant is financially

unable to obtain counsel, and counsel was previously appointed from the Criminal

Justice Act Panel;

      IT IS HEREBY ORDERED that the Attorney below, a member of the CJA

Panel of this District, is appointed to represent the Defendant at every stage of the

proceedings from the date of this Order through disposition, including ancillary

matters appropriate to the proceedings.

      Name:      Paul Gallardo, Esq.
                 Flaherty Law Office
      Address: P.O. Box 1968
                 Great Falls, MT 59403
      Telephone: (406) 727-8494

      IT IS FURTHER ORDERED that the Defendant shall pay the sum of -0-

DOLLARS ($-0-) per month to the Clerk of Court for defense costs in this matter,
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pursuant to 18 U.S.C. § 3006A(f). The first payment of $-0- shall be made on or

before N/A, and each subsequent payment shall be made on or before the N/A day

of each month, during the pendency of this case. If, during the pendency of this

matter, the Defendant’s financial condition changes, the Defendant may petition

the Court for a reduction in the defense costs in this matter.

      Also pursuant to 18 U.S.C. § 3006, if investigation reveals that the

Defendant owns or has control over assets not disclosed herein, the Defendant will

be required to reimburse the United States for all or part of the defense costs

expended in his behalf.

      DATED this 19th day of April, 2017.
